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11
                       UNITED STATES DISTRICT COURT
12
                      CENTRAL DISTRICT OF CALIFORNIA
13                          WESTERN DIVISION
14
                                           Case No. 2:20-cv-00405-MCS-PLA
15    SECURITIES AND EXCHANGE
      COMMISSION,
16
                                           REPLY IN SUPPORT OF
17                Plaintiff,               PLAINTIFF’S MOTION FOR
                                           MONETARY REMEDIES AS TO
18          vs.                            DEFENDANT GROSSMAN
19    GREGORY LAMONT DRAKE, an             Date: September 20, 2021
20    individual; STEPHEN KENNETH          Time: 9:00 am
      GROSSMAN, an individual;             Place: First Street Courthouse
21    STEPHEN SCOTT MOLESKI, an            Courtroom 7C
      individual; JASON DAVID ST.          350 W. 1st Street, Los Angeles, CA
22    AMOUR, an individual; and            Before: Hon Mark C. Scarsi
      DAVID ALAN WOLFSON, an
23    individual,
24
                  Defendants.
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26
27
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 1         In his Opposition (Dkt. No. 81) to Plaintiff Securities and Exchange
 2   Commission’s (“Commission”) motion for disgorgement and civil penalties (Dkt.
 3   No. 78), Defendant Stephen Kenneth Grossman (“Grossman”) does not contest—
 4   because he cannot—that he violated Section 15(a)(1) of the Securities Exchange
 5   Act of 1934 (“Exchange Act”) [15 U.S.C. § 78o(a)(1)] by working as a telephone
 6   solicitor in Defendant David Wolfson’s (“Wolfson’s”) fraudulent matched-trading
 7   operation, which was designed to manipulate the market for dozens of microcap
 8   securities. Nor does he contest that he obtained at least $289,078.74 in net profits
 9   (via commissions) for working as an unregistered broker in Wolfson’s boiler-room
10   operation; that he previously worked in at least two other, similar stock solicitation
11   enterprises before starting at Wolfson’s; that he was not only a “worker bee” but a
12   manager of one of Wolfson’s boiler rooms; and that he attempted to continue
13   working as a (registered) broker after Wolfson scrapped his operation, and only left
14   that employment when he became worried about the Commission’s investigation.
15         Rather than raise a factual challenge to the Commission’s motion for
16   monetary relief, Grossman relies primarily on two legal arguments. Grossman
17   contends that because the Commission purportedly cannot identify the investors
18   who Grossman solicited and prove how much money each of those investors lost
19   on their trades, the Court cannot award any disgorgement or prejudgment interest.
20   Grossman further claims that because his conduct, as pled, was not as egregious as
21   certain of his co-defendants, the Court should not award a significant civil penalty.
22         As discussed below, Grossman’s contention that the Court may not award
23   any disgorgement is barred by the consent judgment he signed and agreed to, and
24   in any event misapprehends the law, which permits the Commission to seek a
25   disgorgement remedy in the amount of the defendant’s ill-gotten gains without first
26   identifying a loss to a particular victim. Likewise, Grossman’s claim that the Court
27   may not award a significant civil penalty does not comport with his substantial role
28   in Defendants’ matched-trading scheme.

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 1   I.       DISGORGEMENT AND PREJUDGMENT INTEREST ARE
 2            APPROPRIATE.
 3            “A disgorgement award that does not exceed a wrongdoer’s net profits and
 4   is awarded for victims is equitable relief permissible under [15 U.S.C.]
 5   § 78u(d)(5).” Liu v. SEC, 140 S. Ct. 1936, 1942 (2020). Grossman does not
 6   dispute that the Commission’s calculation of the net profits he obtained for
 7   violations of Section 15(a)(1)—$289,078.74—is accurate. (See Opposition
 8   (“Opp.”), Dkt. No. 81 at 4.) He likewise does not contest that the Commission’s
 9   calculation of the pre-judgment interest that would be owed on such disgorgement
10   amount ($49,515.71) is accurate. (Id.) Grossman argues, however, that the Court
11   cannot order any disgorgement because (1) the Commission lacks “statutory
12   authorization” for a disgorgement remedy; and (2) the Commission, after Liu,
13   cannot seek a disgorgement remedy without first identifying the harmed investors
14   and “showing a loss to a victim.” These arguments are barred by the consent
15   judgment against Grossman (Dkt No. 76) and, in any event, are contrary to law.
16                  Grossman Is Barred from Challenging the Court’s Ability to
17                  Order a Disgorgement Remedy.
18            As an initial matter, Grossman is barred from raising arguments as to the
19   propriety of any disgorgement remedy. That is, Grossman has consented to a
20   judgment precluding him from arguing that the Court is not permitted to award any
21   disgorgement or prejudgment interest. Pursuant to Section III of the Judgment as
22   to Defendant Stephen Kenneth Grossman (Dkt. No. 76), to which Grossman
23   consented (see Dkt. No. 75), the Court ordered: “Defendant shall pay
24   disgorgement of ill-gotten gains, prejudgment interest thereon, and a civil
25   penalty” and “[t]he Court shall determine the amounts of the disgorgement and
26   civil penalty upon motion of the Commission.” (Id., Judgment at § III (emphasis
27   added).) 1 Thus, by its plain terms, the Judgment precludes Grossman from arguing
28
     1
          Likewise, Grossman is precluded from challenging the validity of the consent
                                                2
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 1   that the Commission lacks authority to seek any disgorgement here, or that
 2   Supreme Court precedent prevents the Court from awarding any disgorgement for
 3   Grossman’s violations of Section 15(a)(1). Any such arguments Grossman may
 4   have had were waived when he consented to entry of that Judgment, and cannot be
 5   litigated here. Because Grossman does not dispute the “amount[ ] of the
 6   disgorgement” (see Dkt. No. 76, Judgment at § III), that should be the end of the
 7   matter, and the Court should award the Commission’s requested disgorgement and
 8   prejudgment interest.
 9                The Commission Has “Statutory Authorization” to Seek a
10                Disgorgement Remedy.
11         Even if Grossman could object to the Court’s ability to award disgorgement
12   (and he cannot), there is no basis for Grossman’s assertion that the Commission
13   lacks “statutory authorization” to pursue a disgorgement remedy (see Dkt. No. 81,
14   Opp. at 5). As the Supreme Court held in Liu—which resolved the question of the
15   Commission’s authority to obtain disgorgement raised by some defendants
16   following Kokesh v. SEC, 137 S. Ct. 1635 (2017)— “a disgorgement award that
17   does not exceed a wrongdoer’s net profits and is awarded for victims is equitable
18   relief permissible under [15 U.S.C.] § 78u(d)(5).” Liu, 140 S. Ct. at 1942. The
19   Supreme Court in Liu specifically rejected the very argument Grossman makes
20   here—that “[the] Court effectively decided in Kokesh that disgorgement is
21   necessarily a penalty, and thus not the kind of relief available at equity.” Liu, 140
22   S. Ct. at 1946. “Not so,” said the Court. Id.
23         Furthermore, on January 1, 2021, Congress passed the National Defense
24   Authorization Act (“NDAA”), Section 6501 of which amended Section 21(d) of
25   the Exchange Act to expressly authorize the Commission, in actions filed in federal
26
27   judgment. (See Dkt. No. 76, Judgment at § III (“In connection with the
     Commission’s motion for disgorgement and/or civil penalties, and at any hearing
28   held on such a motion . . . Defendant may not challenge the validity of the Consent
     or this Final Judgment.”).)

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 1   district court, to seek “disgorgement.” See NDAA § 6501(a); 15 U.S.C. §78u(d)(7)
 2   (as amended) (“In any action or proceeding brought by the Commission under any
 3   provision of the securities laws, the Commission may seek, and any Federal court
 4   may order, disgorgement.”). Congress made clear that this statutory authorization
 5   for disgorgement applies to “any action or proceeding that is pending on, or
 6   commenced on or after, the date of enactment” of the NDAA. See NDAA
 7   § 6501(b). As this case was pending as of January 1, 2021, the NDAA’s statutory
 8   authorization specifically applies, and belies Grossman’s claim that “the lack of
 9   statutory authorization for disgorgement means the Commission cannot seek that
10   additional remedy.” (Opp. at 5.)
11                The Commission’s Proposed Disgorgement Remedy is Consistent
12                with Liu.
13         Likewise, and even if he were not barred from challenging the Court’s
14   ability to award disgorgement, there is no legal basis for Grossman’s contention
15   that the Commission may not seek a disgorgement remedy without first identifying
16   and “showing a loss to a victim.” (Opp. at 7.) That is because (1) disgorgement is
17   measured by a defendant’s net profits, not investor losses; and (2) the
18   Commission’s proposed disgorgement remedy is for the benefit of investors.
19                1.    The Commission’s Proposed Disgorgement Remedy Is
20                      Based on Grossman’s Net Profits.
21         It is settled law that the Commission is entitled to disgorgement upon
22   producing a reasonable approximation of a defendant’s ill-gotten gains. See SEC
23   v. Platforms Wireless Int’l Corp., 617 F.3d 1072, 1096 (9th Cir. 2010) (quoting
24   SEC v. First Pac. Bancorp., 142 F.3d 1186, 1191 (9th Cir. 1998)); SEC v. Yang,
25   824 Fed. Appx. 445, 447 (9th Cir. Aug. 6, 2020) (applying reasonable
26   approximation standard after Liu); see also SEC v. Liu, No. SACV 16-00974-CJC
27   (AGRx), 2021 WL 2374248 (C.D. Cal. June 7, 2021) (applying Liu and granting
28   the Commission’s motion for disgorgement of defendants’ net profits from their

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 1   illegal activities). Indeed, courts have long rejected defendants’ attempts to restrict
 2   disgorgement to investor losses.2 That is because “[d]isgorgement is designed to
 3   deprive a wrongdoer of unjust enrichment, and to deter others from violating the
 4   securities laws by making violations unprofitable.” First Pacific Bancorp, 142
 5   F.3d at 1191; see also Platforms Wireless, 617 F.3d at 1097 (“[T]he purpose of a
 6   disgorgement remedy is to prevent unjust enrichment and to make securities law
 7   violations unprofitable, not to compensate victims.”).
 8         These principles were reaffirmed in Liu, where the Supreme Court made
 9   clear that a defendant’s “net profits” are the appropriate measure for disgorgement.
10   As the Court stated, “[e]quity courts have routinely deprived wrongdoers of their
11   net profits from unlawful activity,” reflecting “a foundational principle” that “it
12   would be inequitable that a wrongdoer should make a profit out of his own wrong.”
13   Liu, 140 S. Ct. at 1942–43, quoting Root v. Railway Co., 105 U.S. 189, 207 (1882)
14   (alterations omitted). 3 Thus, following Liu, courts have continued to reject efforts
15   to calculate disgorgement based on a loss to investors rather than the illegal gains
16   of a defendant. See, e.g., SEC v. Westport Capital Markets, LLC, No. 3:17-cv-
17   02064, 2021 WL 2801626, *7 (D. Conn. July 6, 2021) (“‘[I]investor loss’ is not the
18   2
       See, e.g., Kansas v. Nebraska, 574 U.S. 445, 463 (2015) (ordering disgorgement
19   that exceeded the victim’s “actual damages”); Official Comm. of Unsecured
     Creditors of WorldCom, Inc. v. SEC, 467 F.3d 73, 81 (2d Cir. 2006) (“Given that
20   compensation of fraud victims is a ‘secondary goal,’ the size of a disgorgement
     order ‘need not be tied to the losses suffered by defrauded investors.’”) (quoting
21   SEC v. Fischbach Corp., 133 F.3d 170, 175–76 (2d Cir. 1997); SEC v. Bhagat, No.
     C-01-21073, 2008 WL 4890890, *1 (N.D. Cal. Nov. 12, 2008) (“[D]isgorgement is
22   not restitution either, meaning that it need not compensate investors.”); see also
     SEC v. BIC Real Estate Dev. Corp., No. 1:16-cv-00344, 2017 WL 1740136, *
23   (E.D. Cal May 4, 2017) (rejecting claim that the Commission must itemize
24   “investor losses” to determine ill-gotten gains for purposes of imposing a civil
     penalty); SEC v. Levin, 849 F.3d 995, 1006 (11th Cir. 2017) (affirming
25   disgorgement award because “the district court properly based the disgorgement
     upon Levin's gains and not the investors’ losses”).
26   3
       Liu’s focus on ensuring adequate consideration of legitimate offsets for business
27   expenses, 140 S. Ct. at 1946, further underscores that quantifying disgorgement
     focuses on the defendants’ profits, not investor losses. If the focus were on
28   quantifying losses, there would be no need to consider business expense offsets
     because they would not be relevant to that calculation.

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 1   proper measure for disgorgement; as the Supreme Court made clear in Liu.”); SEC
 2   v. Almagarby, No. 17-62255-CIV (S.D. Fla.) (Aug. 16, 2021 Report and
 3   Recommendation) (attached hereto as Exhibit 1) (“The undersigned agrees with
 4   the SEC that disgorgement is measured by Defendant’s profits and not investor
 5   losses.”). Thus, it is no matter if “[t]he Commission has not shown a loss to a
 6   victim.” 4 (Opp. at 7.)
 7         Furthermore, Liu opined that it remained “an open question whether, and to
 8   what extent that practice [i.e., depositing disgorgement funds with the Treasury
 9   where a distribution to investors is infeasible] nevertheless satisfies the SEC’s
10   obligation to award relief ‘for the benefit of investors’ and is consistent with the
11   limitations of § 78u(d)(5).” Liu, 140 S. Ct. at 1948. If, as Grossman argues, Liu
12   required the Commission to quantify investor losses and to identify the specific
13   victims, there would not have been any “open question.” Nothing in Liu requires
14   the Commission to undertake the significant burden of identifying individual
15   harmed investors or quantifying their losses before disgorgement is awarded or
16   collected. See SEC v. Blackburn, No. 15-2451, 2020 WL 10787527, *3 (E.D. La.
17   Nov. 3, 2020) (“To be sure, [Liu] did not create a rule requiring all disgorged funds
18   be returned to investors or that a disgorgement award be limited to those funds that
19   could be returned to investors.”).
20         Grossman claims that language in the Commission’s proposed final
21   judgment is nonetheless contrary to Liu because it treats disgorgement as a penalty,
22
23   4
       This is not a private action subject to proof of damages. Because disgorgement is
     measured by a violator’s “wrongful gains” as opposed to the victim’s damages,
24   Liu, 140 S. Ct. at 1944, disgorgement can be ordered in an amount that is different
     from, or even exceed the victim’s loss. See Kansas, 574 U.S. at 463 (ordering
25   disgorgement that exceeded the victim’s “actual damages”); SEC v. Huffman, 996
     F.2d 800, 802 (5th Cir. 1993) (“[A] disgorgement order might be for an amount
26   more or less than that required to make the victims whole.”) If not for Grossman’s
27   illegal broker activities, the investors who unwittingly purchased microcap
     securities subject to a matched-trading scheme would not have bought those new
28   securities from Grossman, and Grossman would not have obtained his commission
     profits on their trades.

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 1   but this argument depends on a misreading of the proposed judgment. Grossman
 2   suggests that the proposed judgment defines disgorgement as a “penalty paid to the
 3   government for all purposes, including all tax purposes.” (Opp. at 8.) But
 4   Grossman omits the pertinent language of that provision, which specifically refers
 5   to “civil penalties”—not disgorgement. In full:
 6         Regardless of whether any such Fair Fund distribution is made, amounts
 7         ordered to be paid as civil penalties pursuant to this Judgment shall be
           treated as penalties paid to the government for all purposes, including for tax
 8         purposes.
 9
     (Dkt. No. 78-2, Proposed Final Judgment at § VI (emphasis added).) Grossman’s
10
     “quote” of this provision omits the relevant highlighted language, which makes
11
     clear that the provision does not apply to the proposed disgorgement remedy, only
12
     to any civil penalties awarded by the Court. Thus, there is no inconsistency
13
     between Liu and the Commission’s proposed final judgment.
14
                  2.     The Commission’s Proposed Disgorgement Remedy Is “for
15
                         the Benefit” of Investors.
16
           Finally, there is no merit to Grossman’s suggestion that the Commission
17
     cannot show that the proposed disgorgement remedy is “for the benefit of
18
     investors” pursuant to Liu without first identifying both the investors and their
19
     losses. (See Opp. at 7 (“[T]he Commission has not shown and probably cannot
20
     show that any of the so-called net profits are going to be returned to the
21
     investors.”).) That is not the law.
22
           Liu noted that under the text of the Exchange Act, equitable relief must be
23
     “appropriate or necessary for the benefit of investors.’” Liu, 140 S. Ct. at 1947
24
     (quoting 15 U.S.C. § 78u(d)(5)). The Court explained that this language “must
25
     mean something more than depriving a wrongdoer of his net profits alone” and
26
     held that the “equitable nature of the profits remedy generally requires the SEC to
27
     return a defendant’s gains to wronged investors for their benefit.” Id. at 1948. “To
28

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 1   the extent that feasibility is relevant at all to equitable principles . . . lower courts
 2   are well equipped to evaluate the feasibility of returning funds to victims of fraud.”
 3   Id. n.5 (citing SEC v. Lund, 570 F. Supp. 1397, 1404-05 (C.D. Cal. 1983)).5
 4          As is clear from the Commission’s opening brief, the victims of Grossman’s
 5   violations can be identified and the Commission intends to return any
 6   disgorgement amounts collected to those investors to the extent it is feasible. Both
 7   the testimony of Grossman and the declaration of Wolfson make clear that
 8   Grossman’s and Wolfson’s illegal conduct at issue involved the sale of
 9   approximately 41 securities, with identifiable names and ticker numbers. (See Dkt.
10   78-2, Fronk Decl. at Ex. A, Declaration of David Wolfson at ¶ 4k; Dkt. No. 49-1,
11   Statement of Uncontroverted Facts and Conclusions of Law in Support of
12   Plaintiff’s Motion for Partial Summary Judgment ¶ 27.) As discussed in the
13   attached declaration from Joseph Darragh, attached as Exhibit 2, the investors who
14   purchased these securities during the relevant time period can be identified using
15   data from the FINRA Audit Trail and the Electronic Bluesheet System. It is
16   premature to do that now—identifying the specific investors who will receive
17   money in a distribution should await entry of a judgment specifying the amount of
18   disgorgement. At that point, the amount to be distributed to investors depends in
19   large part on how much can be collected.
20          Moreover, it is incorrect to suggest that the Commission cannot seek any
21   disgorgement because “[m]atch trading does not necessarily mean a loss to a
22   victim.” (Opp. at 7.) The Court need not, at this stage, engage in the exercise
23   proposed by Grossman—namely, calculating the exact losses of each victim. Nor
24
     5
       In Lund, the district court ordered disgorgement be paid into an escrow account
25   and appointed a magistrate to determine whether it was feasible to identify harmed
     investors and “make such an award from the escrow account as is fair and
26   equitable.” 570 F. Supp. at 1403–05. The district court further ordered that any
27   funds that could not be distributed be paid into the Treasury. Id. Thus, in an
     opinion from this district cited favorably by Liu, the court recognized that the
28   identification of victims, the amount of their losses, and the feasibility of a
     distribution would be decided after disgorgement had been awarded.

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 1   is the Commission required to quantify how much of each investor’s losses are
 2   specifically attributable their transactions with Defendants. At this stage, it is
 3   sufficient to establish a class of investors for whose benefit disgorgement is sought,
 4   and the Commission has done that. See Almagarby, Ex. 1 at 7 ([T]the Supreme
 5   Court [in Liu] made no ruling, as Defendants suggest, that the SEC must identify
 6   specific victims to whom a disgorgement award should be distributed, or that all
 7   disgorged funds must be returned to investors, or that a disgorgement award should
 8   be limited to those funds that could be returned to investors.”).
 9         In any event, Grossman’s implication—that investors who unwittingly
10   purchased into a matched trading scheme paying exorbitant commissions were not
11   harmed by at least an undue risk of a declining stock price after the scheme had
12   moved on to “pump and dump” another penny stock—does not comport with
13   common sense. The amount of each investor’s personal gain or loss on the stock
14   may depend on when the investor eventually sold the promoted security; but that
15   sale cannot compensate investors from taking on an undisclosed risk that
16   necessarily inflated the price they paid for the security. Thus, the Commission’s
17   proposed final judgment requires the Commission to hold all funds paid by
18   Defendants “pending further order of the Court,” and provides that the
19   Commission “may propose a plan to distribute [funds] subject to the Court’s
20   approval.” (Dkt. No. 78-2, Proposed Final Judgment at § VI.) Pursuant to the
21   proposed judgment, the Court will have the ability to supervise the distribution of
22   these funds and, consistent with Liu, ensure that disgorged funds are returned to the
23   most direct victims of the violation. This process is reasonable and comports with
24   Liu. See Lund, 570 F. Supp. at 1403–05; see also Almagarby, Ex. 1 at 6–7.
25   II.   A CIVIL PENALTY IS WARRANTED.
26         Section 21(d)(3) of the Exchange Act, 15 U.S.C. § 78u(d)(3), provides that
27   the Commission may seek civil penalties for violations of the Exchange Act. The
28   amount of any civil penalty “shall be determined by the court in light of the facts

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 1   and circumstances.” 15 U.S.C. § 78u(d)(3)(B)(i). Grossman asserts that his
 2   actions—unlike certain of his co-defendants—are not sufficient to rise to the level
 3   of a third-tier penalty, both because he was not charged with a scienter-based
 4   violation, and because he cooperated in the investigative and litigation process.
 5   (See Opp. 2–3, 9–11.) But these are not reasons to impose a lesser penalty.
 6         As discussed at length in the Commission’s opening brief, Grossman was
 7   not merely a “worker bee” taking orders from Wolfson. He was not naïve as to the
 8   matched-trading operation, having previously worked in at least two other similar
 9   operations, one headed by his co-defendant Drake. And he did not remain a mere
10   telephone solicitor, but was promoted to a management position where he
11   supervised other unlicensed brokers and was an integral part of Defendants’
12   fraudulent scheme for at least 15 months. Grossman also did not willingly leave
13   Wolfson’s employ, but only stopped working as an unlicensed broker when
14   Wolfson shut down the operation upon learning of the Commission’s investigation.
15   The fact that Grossman was not charged with a violation of Section 10(b) does not
16   mitigate his continued, reckless participation in what was undeniably a fraudulent
17   scheme—that created significant risk of substantial losses to the solicited investors
18   who purchased the promoted microcap securities at artificially inflated prices.
19         Grossman also suggests, through an inappropriate reference to settlement
20   communications, that he has acknowledged his violation, is elderly, and does not
21   have the ability to pay disgorgement or a civil penalty. While the ability to pay is
22   one factor that a Court may consider in determining a penalty, it is incumbent on
23   Grossman to provide some support for the claim that he lacks the funds to pay any
24   civil penalty, and he has not provided such evidence to date. Likewise, his
25   repeated failure to participate in this litigation belies his claim that he is now taking
26   responsibility for his violation. Thus, for the reasons discussed in the
27   Commission’s opening brief, a third-tier penalty is appropriate here in an amount
28   to be determined in the Court’s discretion.

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 1                                   CONCLUSION
 2         For the reasons discussed herein and in the Commission’s opening brief, the
 3   Commission requests that the Court enter a final judgment against Grossman in the
 4   form attached to the Commission’s opening brief (Dkt. No. 78-2.)
 5
 6   Dated: September 7, 2021
 7                                               /s/ Casey R. Fronk
 8                                               Casey R. Fronk
                                                 Tracy S. Combs
 9                                               Amy J. Longo
10                                               Attorneys for Plaintiff
                                                 Securities and Exchange Commission
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 1                                    PROOF OF SERVICE
 2   I am over the age of 18 years and not a party to this action. My business address is:
 3                U.S. SECURITIES AND EXCHANGE COMMISSION
                  351 South West Temple, Suite 6.100
 4                Salt Lake City, UT 84101-1950
                  Tel.: (801) 524-5796; Fax: (801) 524-3558
 5
     On September 7, 2021, I caused to be served the document entitled REPLY IN
 6   SUPPORT PLAINTIFF’S MOTION FOR MONETARY REMEDIES AS TO
 7   DEFENDANT GROSSMAN on all the parties to this action addressed as stated
     on the attached service list:
 8
           ☐      OFFICE MAIL: By placing in sealed envelope(s), which I
 9         placed for collection and mailing today following ordinary business
           practices. I am readily familiar with this agency’s practice for
10         collection and processing of correspondence for mailing; such
           correspondence would be deposited with the U.S. Postal Service on
11         the same day in the ordinary course of business.

12         ☐     PERSONAL DEPOSIT IN MAIL: By placing in sealed
           envelope(s), which I personally deposited with the U.S. Postal Service.
13         Each such envelope was deposited with the U.S. Postal Service at Salt
           Lake City, Utah, with first class postage thereon fully prepaid.
14         ☐      EXPRESS U.S. MAIL: Each such envelope was deposited in a
15         facility regularly maintained at the U.S. Postal Service for receipt of Express
           Mail at Salt Lake City, Utah, with Express Mail postage paid.
16         ☐     HAND DELIVERY: I caused to be hand delivered each such
17         envelope to the office of the addressee as stated on the attached service list.

18         ☒      UNITED PARCEL SERVICE: By placing in sealed envelope(s)
           designated by United Parcel Service (“UPS”) with delivery fees paid or
           provided for, which I deposited in a facility regularly maintained by UPS
19         or delivered to a UPS courier, at Salt Lake City, Utah.
20         ☐      ELECTRONIC MAIL: By transmitting the document by electronic
           mail to the electronic mail address as stated on the attached service list.
21
           ☒     E-FILING: By causing the document to be electronically filed via
22         the Court’s CM/ECF system, which effects electronic service on counsel
           who are registered with the CM/ECF system.
23
           ☐     FAX: By transmitting the document by facsimile transmission. The
24         transmission was reported as complete and without error.
25   I declare under penalty of perjury that the foregoing is true and correct.
26    Date: September 7, 2021               /s/ Casey R. Fronk
                                             Casey R. Fronk
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